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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 15-22708-CIV-KMM

  DAGOBERTO CATALINO DIAZ                          )
  HERNANDEZ and all others                similarly)
  situated under 29 U.S.C. 216(b),                 )
                                                   )
                   Plaintiff,                      )
                                                   )
  vs.                                              )
                                                   )
  LAUNDRY ZONE, INC.,                              )
  JOSEPH LAHOUD,                                   )
  JEANNE D’ARC LAHOUD,                             )
                                                   )
                   Defendants.                     )
                                                   )

                           DEFENDANTS’ MOTION TO STAY DISCOVERY

          Defendants, Laundry Zone, Inc. (“Laundry Zone”), Joseph Lahoud (“Mr.

  Lahoud”), and Jeanne Lahoud (“Mrs. Lahoud”) (collectively, “Defendants”), by and

  through its undersigned counsel and pursuant to the Federal Rules of Civil Procedure,

  respectfully ask the Court to stay discovery until a decision has been made on

  Defendants’ Motion to Dismiss or in the Alternative Motion for Summary Judgment

  (“Motion”) [DE 15], and state as follows:

          1.       Plaintiff filed his Amended Complaint against Defendants on August 7,

  2015 alleging violations of the Fair Labor Standards Act.

          2.       Defendants filed their Motion on August 28, 2015. Defendant Laundry

  Zone is a family-owned laundromat, owned by Mr & Mrs. Lahoud. Defendant Laundry

  Zone has no employees and is self-service. Defendant Laundry Zone does not create

  any goods and its customers are exclusively located within the North Miami, Florida



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  area. Defendant Laundry Zone’s yearly gross volume of sales is well below $500,000,

  the jurisdictional requirement. See materials filed in support of Motion [DE 15].

          3.       Plaintiff served Interrogatories and Requests for Production on November

  10, 2015 and also asked to take the depositions of Mr. and Mrs. Lahoud as well as the

  deposition of Laundry Zone’s corporate representative.

          4.       Defendants believe that their Motion will be successful and Mr. and Mrs.

  Lahoud have extremely limited resources to defend this action. In the interest of a “just,

  speedy, and inexpensive determination of [this] action,” Defendants requests that all

  discovery in relation to Plaintiff’s allegations, specifically Plaintiff’s Interrogatories,

  Requests for Production, and Depositions be stayed until an adjudication of the

  substantive arguments in the Motion.

          5.       The requested stay will prevent unnecessary discovery disputes, as well

  as decrease the related judicial labor and parties’ expense bound to result from the

  extensive discovery that Plaintiff propounded. Instead of burdening the Court with such

  disputes, a stay would properly allow the Court to focus on a determination of the

  threshold issue at the heart of Defendants’ Motion, .i.e., whether the FLSA applies to

  Laundry Zone, as a family-run small business with zero employees and less than

  $500,000 in gross sales.

          6.       Federal courts have broad discretion to stay proceedings as part of their

  inherent authority to control their dockets. See Clinton v. Jones, 520 U.S. 681, 706

  (1997) (“The District Court has broad discretion to stay proceedings as an incident to its

  power to control its own docket.”). Therefore, it should come as no surprise that the

  Eleventh Circuit has repeatedly instructed that:



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              Facial challenges to the legal sufficiency of a claim . . . such as a
          motion to dismiss should . . . be resolved before discovery begins.
          Such a dispute always presents a purely legal question; there are no
          issues of fact because the allegations contained in the pleading are
          presumed to be true.
              Although mechanisms for effective discovery are essential to the
          fairness of our system of litigation, they also carry significant costs…If the
          district court dismisses a nonmeritorious claim before discovery has
          begun, unnecessary costs to the litigants and to the court system can be
          avoided. Conversely, delaying ruling on a motion to dismiss such a claim
          until after the parties complete discovery encourages abusive discovery
          and, if the court ultimately dismisses the claim, imposes unnecessary
          costs…Allowing a case to proceed through the pretrial processes with an
          invalid claim that increases the costs of the case does nothing but waste
          the resources of the litigants in the action before the court, delay
          resolution of disputes between other litigants, squander scarce judicial
          resources, and damage the integrity and the public’s perception of the
          federal judicial system.
  Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1367-68 (11th Cir.1997) (emphasis

  added) (citations and footnotes omitted); accord Cotton v. Mass. Mut. Life Ins. Co., 402

  F.3d 1267, 1292 (11th Cir. 2005); World Holdings, LLC v. Fed. Republic of Germany,

  701 F.3d 641, 655 (11th Cir. 2012); Inman v. Am. Paramount Fin., 517 F. App’x. 744,

  749 (11th Cir. 2013); see also Moore v. Potter, 141 F. App’x. 803, 807-08 (11th Cir.

  2005) (affirming the trial court’s order staying discovery until a ruling on the defendants’

  motion to dismiss).

          7.       Counsel for Defendants certifies that Defendants conferred with counsel

  for Plaintiff in a good faith effort to resolve this Motion by agreement and that the parties

  were unable to do so.

          WHEREFORE, Defendants respectfully request that the Court issue an order:

  (a) granting this Motion, (b) staying all discovery, specifically Plaintiff’s Depositions,

  Interrogatories, and Request for Production and preserving any objections to the




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  specific requests pending an adjudication of the Motion, and (c) granting Defendants

  any other relief deemed just and proper.

                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  electronically via CMS on this 11th day of November, 2015 to:

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                                                       /s/ Sheila M. Cesarano
                                                          Of Counsel




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